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                                         David J. McGlothlin, Esq. (SBN: 026059)
                                     1
                                         david@southwestlitigation.com
                                     2   Hyde & Swigart
                                         5343 N. 16th Street, Ste. 460
                                     3
                                         Phoenix, Arizona 85016
                                     4   Telephone: (602) 265-3332
                                         Facsimile: (602) 230-4482
                                     5
                                     6   Attorneys for the Plaintiff
                                         Diana Heaivilin
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                                     9
                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
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                                    13        Diana Heaivilin,                                    Case Number:
                 Phoenix, Arizona




                                    14                             Plaintiff,                     Complaint For Damages
                                    15        v.
                                                                                                  Jury Trial Demanded
                                    16        Check & Credit Reporting Inc. dba
                                    17        CCR & Associates, Southern Tier
                                              Agency, Inc., and Richard Cerrone,
                                    18
                                    19                             Defendants.

                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                     1           collection practices are not competitively disadvantaged, and to promote
                                     2           consistent State action to protect consumers against debt collection abuses.
                                     3   2.      Diana Heaivilin, (Plaintiff), through Plaintiff's attorneys, brings this action to
                                     4           challenge the actions of Check & Credit Reporting Inc. dba CCR &
                                     5           Associates, Southern Tier Agency, Inc., and Richard Cerrone, (“Defendants”),
                                     6           with regard to attempts by Defendants to unlawfully and abusively collect a
                                     7           debt allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     8   3.      Plaintiff makes these allegations on information and belief, with the exception
                                     9           of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                    10           Plaintiff alleges on personal knowledge.
                                    11   4.      While many violations are described below with specificity, this Complaint
                                    12           alleges violations of the statutes cited in their entirety.
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                                    13   5.      Unless otherwise stated, Plaintiff alleges that any violations by Defendants
                 Phoenix, Arizona




                                    14           were knowing and intentional, and that Defendants did not maintain
                                    15           procedures reasonably adapted to avoid any such violation.
                                    16   6.      Defendant Check & Credit Reporting Inc. dba CCR & Associates, and
                                    17           Defendant Southern Tier Agency, Inc. were employees or agents of Defendant
                                    18           Cerrone, acting within the course and scope of their employment and there
                                    19           was a causal nexus between said Defendants’ acts and said Defendants'
                                    20           employment. Consequently, any actions by Defendant Check & Credit
                                    21           Reporting Inc. dba CCR & Associates, and Defendant Southern Tier Agency,
                                    22           Inc. were the actions of Defendant Cerrone, vicariously, under the doctrine of
                                    23           Respondeat Superior, or other vicarious liability theories, and Defendant
                                    24           Cerrone is liable for those acts.
                                    25                                     JURISDICTION AND VENUE
                                    26   7.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    27           1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                    28

                                          ______________________________________________________________________________________________________
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                                     1   8.      This action arises out of Defendants' violations of the Fair Debt Collection
                                     2           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”)
                                     3   9.      Because Defendants do business within the State of Arizona, personal
                                     4           jurisdiction is established.
                                     5   10.     Venue is proper pursuant to 28 U.S.C. § 1391.
                                     6                                                  PARTIES
                                     7   11.     Plaintiff is a natural person who resides in the City of Scottsdale, County of
                                     8           Maricopa, State of Arizona.
                                     9   12.     Defendants are located in the City of Cheektowaga, the County of Erie, and
                                    10           the State of New York.
                                    11   13.     Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                    12           as that term is defined by 15 U.S.C. § 1692a(3).
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                                    13   14.     Defendants are persons who use an instrumentality of interstate commerce or
                 Phoenix, Arizona




                                    14           the mails in a business the principal purpose of which is the collection of
                                    15           debts, or who regularly collect or attempt to collect, directly or indirectly,
                                    16           debts owed or due or asserted to be owed or due another and are therefore
                                    17           debt collectors as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    18   15.     Plaintiff is informed and believes all actions by Defendants were made by
                                    19           Richard Cerrone, or taken at his express direction.
                                    20                                       FACTUAL ALLEGATIONS
                                    21   16.     At all times relevant to this matter, Plaintiff was an individual residing within
                                    22           the State of Arizona.
                                    23   17.     At all times relevant, Defendants conducted business within the State of
                                    24           Arizona.
                                    25   18.     Sometime before July 23, 2010, Plaintiff is alleged to have incurred certain
                                    26           financial obligations.
                                    27
                                    28

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                                     1   19.   These financial obligations were primarily for personal, family or household
                                     2         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                     3         §1692a(5).
                                     4   20.   Sometime thereafter, but before July 23, 2010, Plaintiff allegedly fell behind
                                     5         in the payments allegedly owed on the alleged debt. Plaintiff currently takes
                                     6         no position as to the validity of this alleged debt.
                                     7   21.   Subsequently, but before July 23, 2010, the alleged debt was assigned, placed,
                                     8         or otherwise transferred, to Defendants for collection.
                                     9   22.   On or about July 23, 2010, Defendants telephoned Plaintiff and demanded
                                    10         payment of the alleged debt.
                                    11   23.   This communication to Plaintiff was a “communication” as that term is
                                    12         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
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                                    13         with 15 U.S.C. § 1692g(a).
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                                    14   24.   During this July 23, 2010, call Defendants left a voicemail. In this voicemail,
                                    15         Defendants stated that Plaintiff needed to call Defendants immediately or they
                                    16         were going to prosecute her and take her to court.
                                    17   25.   Through this conduct, Defendants used a false, deceptive, or misleading
                                    18         representation or means in connection with the collection of a debt.
                                    19         Consequently, Defendants violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    20         1692e(10).
                                    21   26.   Through this conduct, Defendants made a false representation concerning the
                                    22         character, amount, or legal status of a debt. Consequently, Defendant violated
                                    23         15 U.S.C. § 1692e(2)(A).
                                    24   27.   Through this conduct, Defendants threatened to take action that cannot legally
                                    25         be taken or that is not intended to be taken.                    Consequently, Defendants
                                    26         violated 15 U.S.C. § 1692e(5).
                                    27   28.   Defendants failed to disclose in this initial communication with the consumer
                                    28         that Defendants were attempting to collect a debt and that any information

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                                     1         obtained would be used for that purpose, or failed to disclose in subsequent
                                     2         communications that the communication from a debt collector. Consequently,
                                     3         Defendants violated 15 U.S.C. § 1692e(11).
                                     4   29.   Through this conduct, Defendants placed a telephone call without meaningful
                                     5         disclosing of the caller’s identity.               Consequently, Defendants violated 15
                                     6         U.S.C. § 1692d(6).
                                     7   30.   Through this conduct, Defendants used an unfair or unconscionable means to
                                     8         collect or attempt to collect any debt. Consequently, Defendants violated 15
                                     9         U.S.C. § 1692f.
                                    10   31.   Through this conduct, Defendants were collecting an amount (including any
                                    11         interest, fee, charge, or expense incidental to the principal obligation) when
                                    12         such amount was not expressly authorized by the agreement creating the debt
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                                    13         or permitted by law.              Consequently, Defendants violated 15 U.S.C. §
                 Phoenix, Arizona




                                    14         1692f(1).
                                    15   32.   Through this conduct, Defendants engaged in conduct the natural
                                    16         consequence of which was to harass, oppress, or abuse a person in connection
                                    17         with the collection of a debt. Consequently, Defendants violated 15 U.S.C. §
                                    18         1692d.
                                    19   33.   Defendants failed within five days after its initial communication with
                                    20         Plaintiff, to provide written notification containing a statement that unless
                                    21         Plaintiff, within thirty days after receipt of that notice, disputed the validity of
                                    22         the debt, or any portion thereof, Defendants would assume the debt was valid,
                                    23         or failed within five days after its initial communication with Plaintiff to
                                    24         provide a written notice containing a statement that if Plaintiff notified
                                    25         Defendants in writing, within the thirty-day period that the debt, or any
                                    26         portion thereof, was disputed, Defendants would obtain verification of the
                                    27         debt or a copy of a judgment against Plaintiff and a copy of such verification
                                    28         or judgment would be mailed to Plaintiff by Defendants and that Defendants

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                                     1         would provide Plaintiff with the name and address of the original creditor.
                                     2         This omission by Defendants violated 15 U.S.C. § 1692g.
                                     3   34.   Defendants then proceeded to call Plaintiff’s father, a third party, as that
                                     4         phrase is anticipated by 15 U.S.C. §1692c(b). This communication to a third
                                     5         party was without prior consent, or the express permission of a court of
                                     6         competent jurisdiction, or as reasonably necessary to effectuate a post
                                     7         judgment judicial remedy, and was in connection with the collection of the
                                     8         alleged debt, and with a person other than Plaintiff, Plaintiff's attorney, a
                                     9         consumer reporting agency, the creditor, the attorney of the creditor, or the
                                    10         attorney of the debt collector. This communication to this third party was not
                                    11         provided for in 15 U.S.C. § 1692b. By making said communication to a third
                                    12         party, Defendants violated 15 U.S.C. § 1692c(b).
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                                    13   35.   During this call to Plaintiff’s elderly father, Defendants disclosed they were
                 Phoenix, Arizona




                                    14         collecting a debt, and stated that Plaintiff was in legal trouble. They then left a
                                    15         phone number subsequently determined to be Defendants’ phone number.
                                    16   36.   Through this conduct, Defendants communicated with a person other than the
                                    17         consumer for the purported purpose of acquiring location information and
                                    18         failed to identify himself, or state that was is confirming or correcting location
                                    19         information concerning the consumer, or identified his employer without
                                    20         express request. Consequently, Defendants violated 15 U.S.C. § 1692b(1).
                                    21   37.   Defendants communicated with a person other than the consumer for the
                                    22         purported purpose of acquiring location information and stated that the
                                    23         consumer owed a debt. Consequently, Defendants violated 15 U.S.C. §
                                    24         1692b(2).
                                    25   38.   Through this conduct, Defendants used a false, deceptive, or misleading
                                    26         representation or means in connection with the collection of a debt.
                                    27         Consequently, Defendants violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    28         1692e(10).

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                                     1   39.   Through this conduct, Defendants made a false representation concerning the
                                     2         character, amount, or legal status of a debt. Consequently, Defendants
                                     3         violated 15 U.S.C. § 1692e(2)(A).
                                     4   40.   Through this conduct, Defendants threatened to take action that cannot legally
                                     5         be taken or that is not intended to be taken. Consequently, Defendants
                                     6         violated 15 U.S.C. § 1692e(5).
                                     7   41.   Through this conduct, Defendants were collecting an amount (including any
                                     8         interest, fee, charge, or expense incidental to the principal obligation) when
                                     9         such amount was not expressly authorized by the agreement creating the debt
                                    10         or permitted by law. Consequently, Defendants violated 15 U.S.C. § 1692f(1).
                                    11   42.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    12         of which was to harass, oppress, or abuse a person in connection with the
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                                    13         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
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                                    14   43.   Plaintiff then returned Defendants’ call.
                                    15   44.   During this conversation, Plaintiff explained the alleged debt had been
                                    16         discharged in bankruptcy.
                                    17   45.   Defendants then stated that Defendants already knew the debt was discharged
                                    18         in bankruptcy, and that Defendants were “Going after [Plaintiff] for wire and
                                    19         mail fraud.” Defendants went on to state it did not matter that Plaintiff filed
                                    20         bankruptcy, they still “had a right to go after [Plaintiff] anyways!”
                                    21   46.   Through this conduct, Defendants used a false, deceptive, or misleading
                                    22         representation or means in connection with the collection of a debt.
                                    23         Consequently, Defendants violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    24         1692e(10).
                                    25   47.   Through this conduct, Defendants made a false representation concerning the
                                    26         character, amount, or legal status of a debt.                   Consequently, Defendants
                                    27         violated 15 U.S.C. § 1692e(2)(A).
                                    28

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                                     1   48.   Through this conduct, Defendants threatened to take action that cannot legally
                                     2         be taken or that is not intended to be taken.                    Consequently, Defendants
                                     3         violated 15 U.S.C. § 1692e(5).
                                     4   49.   Through this conduct, Defendants used a false representation or implication
                                     5         that a consumer committed a crime or used other conduct in order to disgrace
                                     6         the consumer. Consequently, Defendants violated 15 U.S.C. § 1692e(7).
                                     7   50.   Through this conduct, Defendants used an unfair or unconscionable means to
                                     8         collect or attempt to collect any debt. Consequently, Defendants violated 15
                                     9         U.S.C. § 1692f.
                                    10   51.   Through this conduct, Defendants was collecting an amount (including any
                                    11         interest, fee, charge, or expense incidental to the principal obligation) when
                                    12         such amount was not expressly authorized by the agreement creating the debt
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                                    13         or permitted by law. Consequently, Defendants violated 15 U.S.C. § 1692f(1).
                 Phoenix, Arizona




                                    14   52.   Through this conduct, Defendants engaged in conduct the natural
                                    15         consequence of which was to harass, oppress, or abuse a person in connection
                                    16         with the collection of a debt. Consequently, Defendants violated 15 U.S.C. §
                                    17         1692d.
                                    18   53.   Due to Defendants actions concentrated in a short amount of time,
                                    19         overwhelmed Plaintiff, causing her to suffer actual damages in the form of
                                    20         mental anguish including nervousness, stress, anxiety, loss of sleep, and fear
                                    21         of answering the telephone, feelings of hopelessness, guilt, helplessness,
                                    22         irritability, and restlessness, all impacting her personal relationships.
                                    23                                          CAUSES OF ACTION
                                    24                                                 COUNT I
                                    25              VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                    26                                      15 U.S.C. §§ 1692 ET SEQ.
                                    27   54.   Plaintiffs incorporate by reference all of the above paragraphs of this
                                    28         Complaint as though fully stated herein.

                                          ______________________________________________________________________________________________________
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                                     1   55.     The foregoing acts and omissions constitute numerous and multiple violations
                                     2           of the FDCPA, including but not limited to each and every one of the above-
                                     3           cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                     4   56.     As a result of each and every violation of the FDCPA, Plaintiffs are entitled to
                                     5           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                     6           an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                     7           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                     8           each Defendant.
                                     9                                                 COUNT II
                                    10                            NEGLIGENT TRAINING AND SUPERVISION
                                    11   57.     Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                    12           paragraphs.
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                                    13   58.     Defendant Cerrone was negligent in the training, and/or supervision of its
                 Phoenix, Arizona




                                    14           employees.
                                    15   59.     The actions and omissions of Defendant Cerrone constitute negligence in that
                                    16           Defendant Cerrone owed Plaintiff a duty to train, and/or supervise its
                                    17           employees properly, said duty was breached, and said breach was the
                                    18           proximate cause of damages suffered by Plaintiff.
                                    19   60.     The actions and omissions of Defendant Cerrone as described herein
                                    20           constitute grossly negligent, training, and/or supervision in that Defendant
                                    21           Cerrone owed Plaintiffs a duty to train, and/or supervise its employees
                                    22           properly, said duty was breached, said breach was the proximate cause of
                                    23           damages suffered by Plaintiff, and the actions and omissions of Defendants
                                    24           Cerrone demonstrate a want of scant care and an indifference to the rights of
                                    25           Plaintiff.   The actions of Defendant Cerrone were willful, malicious, and
                                    26           wanton. The actions of Defendant Cerrone were highly unreasonable and
                                    27           demonstrate an extreme departure from ordinary care.
                                    28   //

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                                     1                                         PRAYER FOR RELIEF
                                     2   WHEREFORE, Plaintiffs pray that judgment be entered against Defendants, and
                                     3   Plaintiffs be awarded damages from Defendants, as follows:
                                     4                                                 COUNT I
                                     5                            FAIR DEBT COLLECTION PRACTICES ACT
                                     6                                      15 U.S.C. §§ 1692 ET SEQ.
                                     7   61.   An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                     8   62.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)
                                     9         (2)(A) from each Defendant;
                                    10   63.   An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
                                    11         U.S.C. § 1692k(a)(3).
                                    12                                                COUNT II
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                                    13                            NEGLIGENT TRAINING AND SUPERVISION
                 Phoenix, Arizona




                                    14   64.   An award of all actual and compensatory damages.
                                    15                                            TRIAL BY JURY
                                    16   65.   Pursuant to the seventh amendment to the Constitution of the United States of
                                    17         America, Plaintiffs are entitled to, and demand, a trial by jury.
                                    18
                                    19          Date: August 26, 2010                             Hyde & Swigart
                                    20
                                                                                                  By: /s/ David J. McGlothlin
                                    21                                                            David J. McGlothlin
                                                                                                  Attorney for the Plaintiff
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